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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DR. G. NEIL GARRETT, DDS, P.C.,                       )
on behalf of itself and a class,                      )
                                                      )
               Plaintiff,                             )       12 CV 6251
                                                      )
               v.                                     )
                                                      )       Honorable Judge Gottschall
SUNI MEDICAL IMAGING, INC.,                           )       Magistrate Judge Kim
and JOHN DOES 1-10,                                   )
                                                      )
               Defendants.                            )

                                 STIPULATION TO DISMISS

       NOW COME the Parties, by and through their respective attorneys, and pursuant to Fed

R. Civ. Proc. 41(a), hereby stipulate to the dismissal of this action, including the claims of

Plaintiff G. Neil Garrett, with prejudice and with each party to bear its own costs. This dismissal

does not in any way affect the claims of the putative class in this action, which shall be dismissed

without prejudice.

                                                    Respectfully submitted,



PLAINTIFF                                           DEFENDANT

DR. G. NEIL GARRETT, DDS, P.C.                      SUNI MEDICAL IMAGING, INC.


s/ Dulijaza Clark                                   s/ William C. O'Neil
By one of its attorneys                             By one of its attorneys
Daniel Edelman                                      William C. O'Neil
Dulijaza (Julie) Clark                              Winston & Strawn LLP
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312-739-4200
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                                CERTIFICATE OF SERVICE

        I, Dulijaza Clark, certify that on October 11, 2012, I caused a true and accurate copy of
the foregoing document to be sent via the Court’s CM/ECF system to the party listed below:


               William C. O’Neil
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               Chicago, IL 60601
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                                                     s/ Dulijaza Clark
                                                     Dulijaza (Julie) Clark

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